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          ORAL ARGUMENT SET FOR JANUARY 9, 2024
                      No. 23-3228

          United States Court of Appeals
        for the District of Columbia Circuit
                      UNITED STATES OF AMERICA,
                                            Plaintiff-Appellee,
                                 v.
                          DONALD J. TRUMP,
                                            Defendant-Appellant.
    Appeal from the U.S. District Court for the District of Columbia
    Criminal Case No. 1:23-cr-00257-TSC (Hon. Tanya S. Chutkan)

BRIEF OF FORMER ATTORNEY GENERAL EDWIN MEESE III
                AND LAW PROFESSORS
      STEVEN G. CALABRESI AND GARY S. LAWSON
    AS AMICI CURIAE SUPPORTING NEITHER PARTY

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  CERTIFICATE AS TO PARTIES, RULINGS UNDER REVIEW,
                 AND RELATED CASES

     Amici curiae former Attorney General Edwin Meese III and law

professors Steven G. Calabresi and Gary S. Lawson certify as follows:

     A.    Parties and Amici

     Except for the following amici in this Court, all parties, intervenors,

and amici appearing before the district court and in this Court are listed

in the Briefs for Plaintiff-Appellee and Defendant-Appellant. In addition

to the amici in the court below and those named in this brief, the

following amici have filed briefs in this Court as of the time this Brief

was finalized for filing: Bradford A. Berenson, Gregory A. Brower, Tom

Campbell, Ty Cobb, Tom Coleman, George T. Conway III, John J. Farmer

Jr., Patrick J. Fitzgerald, William Kristol, Philip Allen Lacovara, John

McKay, Trevor Potter, Claudine Schneider, Fern M. Smith, Olivia Troye,

William F. Weld, and American Oversight.

     B.    Rulings Under Review

     References to the rulings at issue appear in the Briefs for Plaintiff-

Appellee and Defendant-Appellant.




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     C.    Related Cases

     References to related cases appear in the Briefs for the Plaintiff-

Appellee and Defendant-Appellant.

                                 /s/ Gene C. Schaerr
                                 GENE C. SCHAERR
                                 Counsel of Record




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            CORPORATE DISCLOSURE STATEMENT

     Amici curiae former Attorney General Edwin Meese III and law

professors Steven G. Calabresi and Gary S. Lawson certify that they are

natural persons, and as such have no parent corporations or stock.

                                 /s/ Gene C. Schaerr
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     STATEMENT PURSUANT TO D.C. CIRCUIT RULE 29(d)

      A separate brief is necessary for the presentation to this Court of

present amici’s distinctive views of the ultra vires appointment of Special

Counsel Jack Smith, a point not previously raised by the parties but that

can be addressed for the first time on appeal by this Court. Because these

amici are not filing in support of either party and are requesting vacatur,

unlike other amici in this case, it is not possible to consolidate amicus

briefs.

                                     /s/Gene C. Schaerr
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      STATEMENT OF IDENTITY, INTEREST IN CASE, AND
            SOURCE OF AUTHORITY TO FILE1

      Given their interest in the rule of law, the legal issue this brief

addresses is particularly important to amici.         The Honorable Edwin

Meese III served as the seventy-fifth Attorney General of the United

States after having served as Counselor to the President, and is now the

Ronald Reagan Distinguished Fellow Emeritus at the Heritage

Foundation. During his tenure as Attorney General, the Department of

Justice steadfastly defended proper limits on federal power. Professors

Calabresi and Lawson are scholars of the original public meaning of the

Constitution. Members of this Court have cited their work. See, e.g., PHH

Corp. v. C.F.P.B., 881 F.3d 75, 104 (D.C. Cir. 2018) (Pillard, J.) (citing

Calabresi); We the People Found., Inc. v. United States, 485 F.3d 140, 144

(D.C. Cir. 2007) (Rogers, J., concurring) (citing Lawson).

      Amici urge this court to vacate the district court’s judgment and to

order dismissal of Defendant’s prosecution for failure of prosecutorial

authority.



  1 All parties have consented to the filing of this brief. No party or counsel

for a party authored this brief in whole or part, and no entity or person,
other than amici and their counsel, have contributed funds for
preparation or submission of this brief.
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                     SUMMARY OF ARGUMENT

      Jack Smith does not have authority to conduct the underlying

prosecution.   Those actions can be taken only by persons properly

appointed as federal officers to properly created federal offices. Neither

Smith nor the position of Special Counsel under which he purportedly

acts meets those criteria. And that is a serious problem for the American

rule of law—whatever one may think of the Defendant or the conduct at

issue in the underlying prosecution.

      The illegality addressed in this brief started on November 18, 2022,

when Attorney General Merrick Garland exceeded his statutory and

constitutional authority by purporting to appoint Smith to serve as

Special Counsel for the Department of Justice (DOJ).             Smith was

appointed “to conduct the ongoing investigation into whether any person

or entity [including former President Donald Trump] violated the law in

connection with efforts to interfere with the lawful transfer of power

following the 2020 presidential election or the certification of the

Electoral College vote held on or about January 6, 2021.” Off. of the Att’y

Gen., “Appointment of John L. Smith as Special Counsel,” Order No.

5559-2022 (Nov. 18, 2022). Attorney General Garland cited as statutory


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authority for this appointment 28 U.S.C. 509, 510, 515, and 533. But

none of those statutes, nor any other statutory or constitutional

provisions, remotely authorized the appointment by the Attorney

General of a private citizen to receive extraordinary criminal law

enforcement power under the title of Special Counsel.

      First, the Appointments Clause requires that all federal offices “not

otherwise provided for” in the Constitution must be “established by Law,”

U.S. Const. art. II, §2, cl. 2, and there is no statute establishing the Office

of Special Counsel in DOJ. The statutory provisions relied upon by DOJ

and lower courts for the appointment of Special Counsels over the past

half century do not authorize the creation and appointment of Special

Counsels at the level of United States Attorneys. And United States v.

Nixon, 418 U.S. 683 (1974), does not hold to the contrary, because no

question was ever raised in that case about the validity of the

independent counsel’s appointment. That case concerned the relationship

between the President and DOJ as an institution, not between the

President and any specific actor purportedly appointed by DOJ.

      Second, even if one overlooks the absence of statutory authority for

the position, there is no statute specifically authorizing the Attorney


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General, rather than the President by and with the advice and consent

of the Senate, to appoint such a Special Counsel. Under the

Appointments Clause, inferior officers can be appointed by department

heads only if Congress so directs by statute, see U.S. Const. art. II, §2, cl.

2, and so directs specifically enough to overcome a clear-statement

presumption in favor of presidential appointment and senatorial

confirmation. No such statute exists for the Special Counsel.

      Third, the Special Counsel, if a valid officer, is a superior (or

principal) rather than inferior officer, and thus cannot be appointed by

any means other than presidential appointment and senatorial

confirmation regardless of what any statutes purport to say. This is true

as a matter of original meaning, and it is even true as a matter of case

law once one understands that neither Morrison v. Olson, 487 U.S. 654

(1988), nor Edmond v. United States, 520 U.S. 651 (1997), can plausibly

be read to say that any person who is in any fashion subordinate to

another executive official other than the President is an “inferior” officer.

Such a reading of those decisions leads to the ludicrous result that there

is only one noninferior officer in every executive department.




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      To be sure, there are times when the appointment of a Special

Counsel is appropriate. And statutes and the Constitution both provide

ample means for such appointments by allowing the use of existing

United States Attorneys. Any number of United States Attorneys have

performed with distinction the function of serving as a Special Counsel.

For example, on December 30, 2003, Patrick Fitzgerald, who was then

the U.S. Attorney for the Northern District of Illinois, was lawfully

appointed by the then-Acting Attorney General to investigate the Valerie

Plame leak affair, which arose within the jurisdiction of the District of

Columbia District Court. Mr. Fitzgerald, who was a Senate-confirmed

officer of the United States, prosecuted and secured the conviction of Vice

President Richard Cheney’s Chief of Staff, Scooter Libby, in the U.S.

District Court for the District of Columbia. Other recent examples

involve the Senate-confirmed U.S. Attorneys Rod Rosenstein, John

Huber, and John Durham. All of these investigations and prosecutions of

high-level wrongdoing were lawful.

      What federal statutes and the Constitution do not allow, however,

is for the Attorney General to appoint a private citizen, who has never

been confirmed by the Senate, as a substitute United States Attorney


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under the title “Special Counsel.” That is what happened on November

18, 2022. That appointment was unlawful, as are all the legal actions

that have flowed from it, including citizen Smith’s current prosecution of

Defendant.

                              ARGUMENT

I.    No Statute Authorizes the Position of Special Counsel
      Supposedly Held by Smith.

      In our constitutional system, Congress alone has the authority to

create federal offices not established by the Constitution. And the

Attorney General cannot ex nihilo fashion offices as he sees fit. Nor has

Congress given the Attorney General power to appoint a Special Counsel

of this nature. Thus, without legally holding any office, Smith cannot

wield the authority of the United States, including his present attempt

to prosecute Defendant.

      A.     Only Congress Can Create a Federal Office.

      The Constitution itself creates no executive positions other than the

presidency (and the vice presidency, if one considers it an executive

position). Instead, the Constitution commits the power to create federal

offices to Congress under the Necessary and Proper Clause, which gives

Congress power “[t]o make all Laws which shall be necessary and proper

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for carrying into Execution the foregoing Powers, and all other Powers

vested by this Constitution in the Government of the United States, or in

any Department or Officer thereof.” U.S. Const. art. I, §8, cl. 18.

      A law creating offices to carry out executive functions is the

quintessential law “necessary and proper for carrying into Execution”

federal powers. Moreover, “Congress has the exclusive constitutional

power to create federal offices.” Steven G. Calabresi & Gary Lawson, Why

Robert Mueller’s Appointment as Special Counsel Was Unlawful, 95

Notre Dame L. Rev. 87, 101 & n.74 (2019) (discussing 2 The Records of

the Federal Convention of 1787, at 550 (Max Farrand ed., 1911))

(“Mueller’s Appointment”); see also Seila Law LLC v. CFPB, 140 S.Ct.

2183, 2227 (2020) (Kagan, J., concurring in judgment with respect to

severability and dissenting in part). English monarchs could create

offices, but the Founders considered this power abusive and consciously

denied it to the President. See Steven G. Calabresi & Gary Lawson, The

U.S. Constitution: Creation, Reconstruction, the Progressives, and the

Modern Era 382 (1st ed. 2020). Accordingly, the Constitution does not

give the President or the heads of executive departments the power to

create any offices and to appoint any officers they deem appropriate.


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Instead, it requires that Congress first create all offices to which federal

officers, superior or inferior, can be appointed.

      This is confirmed by the Appointments Clause, which provides for

the appointment of officers “which shall be established by Law.” U.S.

Const. art. II, §2, cl. 2 (emphasis added). The addition of the emphasized

phrase in the Appointments Clause was deliberate. “On September 15,

1787, ‘[a]fter “Officers of the U.S. whose appointments are not otherwise

provided for,” were added the words “and which shall be established by

law.”’” Calabresi & Lawson, Mueller’s Appointment, supra, at 101 & n.77

(quoting 2 The Records of the Federal Convention of 1787, at 628). This

addition’s plain import is that the “law” that establishes the office must

be a statute; a regulation or executive (or judicial) order is not the kind

of “law” that can create an office under the Appointments Clause. See

Seila Law, 140 S.Ct. at 2227 (Kagan, J.) (quoting 1 Annals of Cong. 582

(1789) (Madison)). Indeed, the Constitution consistently uses the terms

“law” and “laws,” when otherwise unqualified, to mean statutes. See Gary

Lawson & Christopher D. Moore, The Executive Power of Constitutional

Interpretation, 81 Iowa L. Rev. 1267, 1315 (1996). If no statute

establishes an office, there is no office to which someone can be appointed.


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      B.     The Organic Statutes of the Department of Justice Do
             Not “By Law” Vest in the Attorney General of the
             United States the Power to Appoint Officers with the
             Power of Supposed Special Counsel Smith.

      DOJ’s current structure, as provided by statute, includes an

Attorney General, Deputy Attorney General, Associate Attorney General,

Solicitor General, eleven Assistant Attorneys General, one U.S. Attorney

for each judicial district (currently ninety-four), a director of the Federal

Bureau of Investigation, a director of the U.S. Marshals Service, one U.S.

Marshal for each judicial district, a director of the Bureau of Alcohol,

Tobacco, Firearms, and Explosives, a director of the Bureau of Prisons,

twenty-one U.S. Trustees, and as many assistant United States

Attorneys and “special attorneys” as the Attorney General deems

necessary.

      This list does not include more than 100,000 people who work at

DOJ. The vast majority of federal workers, including those who work at

DOJ, are not “officers of the United States.” They are employees, whose

appointments are not controlled by the Appointments Clause and who

therefore do not require specific statutory authorization. For their

appointments, it suffices to provide, as Congress has done, that “[e]ach

Executive agency, military department, and the government of the

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District of Columbia may employ such number of employees of the various

classes recognized by chapter 51 of this title as Congress may appropriate

for from year to year.” 5 U.S.C. 3101 (emphasis added). But officer

positions must be specifically “established by Law.” U.S. Const. art. II,

§2, cl. 2. And employees cannot exercise the power of officers. See Lucia

v. SEC, 138 S.Ct. 2044, 2051–2052 (2018).

      To be sure, the Ethics in Government Act of 1978, Pub. L. No. 95-

521, added to the mix an “independent counsel” appointed by a special

three-judge court upon referral by the Attorney General. But the

statutory provisions for the independent counsel expired in 1999 when

Congress failed to reauthorize them.

      Shortly before that expiration, then-Attorney General Janet Reno

promulgated regulations—which, if valid, are still in force today—

providing for an “Office of Special Counsel.” See Office of Special Counsel,

64 Fed. Reg. 37,038 (July 9, 1999) (codified at 28 C.F.R. 600.1–600.10)

[hereinafter “Reno Regulations”]. Under these regulations, the Attorney

General may, in some circumstances, “appoint an outside Special Counsel

to assume responsibility for the matter.” 28 C.F.R. 600.1 (emphasis

added). The regulations clarify that “outside” counsel means someone


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“from outside the United States Government.” Id. 600.3(a). The Reno

Regulations, like the independent counsel statute, contemplate

appointment, as a putative inferior officer, of a nongovernmental official

to an office that is fully the equivalent of a United States Attorney. But

regulations are not the kind of “law” that can “establish[]” a federal office.

Only a statute can do that under the Appointments Clause, and no

statute creates a Special Counsel with the jurisdiction and authority

Smith wields.

      The Reno Regulations cite as authority 5 U.S.C. 301 and 28 U.S.C.

509, 510, 515–519. In his order appointing Smith, Attorney General

Garland cited “28 U.S.C. §§ 509, 510, 515, and 533.” Order No. 5559-2022

at 1. These statutes, singly or collectively, plainly provide no such

authority.

      1.     Start with 5 U.S.C. 301. This provision is a general

authorization for the issuance of regulations by the Attorney General or

any other department head:

      The head of an Executive department or military department
      may prescribe regulations for the government of his
      department, the conduct of its employees, the distribution and
      performance of its business, and the custody, use, and
      preservation of its records, papers, and property ***.


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This is merely a general housekeeping provision. Nothing in it creates

any offices or authorizes the creation (or abolition) of any offices. Indeed,

if §301 were taken as general authorization for appointment of officers,

the entirety of the more numerous specific provisions for appointment of

officers throughout the United States Code would be superfluous. That is

an absurd construction of §301, and no one seriously advances it.

      2.   Next, §509 of Title 28 merely says that “[a]ll functions of other

officers of the Department of Justice and all functions of agencies and

employees of the Department of Justice are vested in the Attorney

General,” except for some functions not relevant here. But this provision

likewise does not authorize the creation of any office. It simply says that

the Attorney General can control all his subordinates in DOJ or

personally assume and exercise their responsibilities.

      3.   Similarly, §510 merely says: “The Attorney General may from

time to time make such provisions as he considers appropriate

authorizing the performance by any other officer, employee, or agency of

the Department of Justice of any function of the Attorney General.” As

with §509, the statute provides for shifting authority among the persons




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who work at DOJ, but it says nothing about who those persons are or how

they got there.

        4.   Attorney General Garland also cited 28 U.S.C. 515, and the

Reno Regulations relied on 28 U.S.C. 515–519. Again, alone or singly,

none of these provisions comes close to authorizing the creation of a

Special Counsel or the appointment by the Attorney General of a private

citizen to the position.

        First, §515(a) confers only the following power:

        The Attorney General or any other officer of the Department
        of Justice, or any attorney specially appointed by the Attorney
        General under law, may, when specifically directed by the
        Attorney General, conduct any kind of legal proceeding, civil
        or criminal, including grand jury proceedings and proceedings
        before committing magistrate judges, which United States
        Attorneys are authorized by law to conduct, whether or not he
        is a resident of the district in which the proceeding is brought.

Thus, §515(a) does not create any offices or authorize their creation.

Instead, it concerns the powers of people who have been properly

appointed to offices “under law” pursuant to other statutory provisions,

and it allows the Attorney General to designate a U.S. Attorney or a

special attorney appointed “under law” to prosecute a case “whether or

not he is a resident of the district in which the proceeding is brought.”

Ibid.

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      Section 515(a) is thus a geographical and jurisdictional allocative

provision, not a grant of power to appoint private citizens as Special

Counsels. For example, in 2003, this clause allowed the Attorney General

to appoint Patrick Fitzgerald, the Senate-confirmed U.S. Attorney for the

Northern District of Illinois, to take on Special Counsel duties to

investigate the Valerie Plame affair, which arose in the District of

Columbia. Section 515(a) permits this geographical flexibility.

      Second, §515 adds in subsection (b):

      Each Attorney specially retained under authority of the
      Department of Justice shall be commissioned as special
      assistant to the Attorney General or special attorney, and
      shall take the oath required by law. Foreign counsel employed
      in special cases are not required to take the oath. The
      Attorney General shall fix the annual salary of a special
      assistant or special attorney.

Again, this subsection is not a grant of a new power to retain or to hire

new officers, but instead provides on its face that attorneys who have

already been hired or retained, and who may be only employees, not

officers, can also have a title and salary.

      To be sure, §§515(a) and 515(b) both assume that there are going to

be attorneys “specially appointed by the Attorney General under law”

and “specially retained under the authority of the Department of


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Justice.” And indeed, an explicit provision elsewhere in Title 28, §543

(discussed below), authorizes the Attorney General to hire such persons,

who can then be denominated and commissioned as “special assistant[s]”

or “special attorney[s]” under §515(b). But these provisions confer no

authority to create offices.

      Likewise, §§516–519 concern the internal allocation of authority

among existing DOJ personnel and provide no authority to create offices.

Section 519, for example, provides:

      Except as otherwise authorized by law, the Attorney General
      shall supervise all litigation to which the United States, an
      agency, or officer thereof is a party, and shall direct all United
      States Attorneys, assistant United States Attorneys, and
      special attorneys appointed under section 543 of this title in
      the discharge of their respective duties.

There is no office-creating power here, either.

      5.    Section 519, however, points to the correct answer regarding

the Attorney General’s statutory authority to appoint Special Counsels.

Section 519 notes that there are “special attorneys appointed under

section 543 of this title.” Indeed, there are. Section 543 of Title 28 is

explicit authority for the Attorney General to appoint Special Counsels.

Yet neither the Reno Regulations nor the Garland memo appointing

Smith makes any mention of this provision. Why not? Because §543 does

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not authorize the kind of Special Counsel contemplated by the Reno

Regulations or the Garland appointment of Smith. Section 543 is

narrowly cabined, as one would expect from the overall structure of Title

28. The government for decades has steadfastly refused to rely on this

provision that explicitly provides the Attorney General with hiring

authority, and it continues to refuse to rely on it in current litigation—

for the obvious reason that the provision contains internal limitations

which the government seeks to avoid.

      This is clear from the text of §543, which provides:

      (a) The Attorney General may appoint attorneys to assist
      United States attorneys when the public interest so requires,
      including the appointment of qualified tribal prosecutors and
      other qualified attorneys to assist in prosecuting Federal
      offenses committed in Indian country.

      (b) Each attorney appointed under this section is subject to
      removal by the Attorney General.

This is an obvious and explicit authorization for the creation and

appointment of “special assistants” or “special counsels” who merely

assist U.S. Attorneys when the public interest so requires.

      There are, moreover, many contexts in which the appointment of

such persons makes sense. The government often encounters problems

for which private lawyers have expertise—either gained from past

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government service or private experience—on matters such as organized

crime, banking, antitrust, tribal law, and so forth. Those lawyers may not

want a permanent government position but may be willing to help the

government on a limited basis, perhaps as part of a task force or a team

dealing with a specific piece of complex litigation requiring expert

knowledge. An appointment as a special assistant or special counsel,

under the control and direction of a United States Attorney, is an obvious

win-win in such instances.

      The problem for the government in the case of the Reno Regulations

and the Smith appointment is that those Regulations and the Smith

appointment order do not contemplate “special counsels” who assist U.S.

Attorneys. Instead, they contemplate Special Counsels who replace U.S.

Attorneys in specific cases. Smith, for example, was not appointed to

assist U.S. Attorneys. He was hired as a powerful standalone officer who

replaces rather than assists the functions of United States Attorneys

within the scope of his jurisdiction. This is precisely the role that the

Ethics in Government Act authorized for independent counsels. But that

statute no longer exists, and in the absence of that statute or a similar




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one, there is simply no statutory office of Special Counsel to which Smith

could be appointed to function as a stand-in for a U.S. Attorney.

      6.   The remainder of Title 28 confirms this conclusion. Section

533, relied upon by Attorney General Garland, is part of a chapter

dealing with the FBI and is entitled “Investigative and Other Officials.”

It says:

      The Attorney General may appoint officials-(1) to detect and
      prosecute crimes against the United States; (2) to assist in the
      protection of the person of the President; and (3) to assist in
      the protection of the person of the Attorney General[;] (4) to
      conduct such other investigations regarding official matters
      under the control of the Department of Justice and the
      Department of State as may be directed by the Attorney
      General.

But §533(1) is not a general authorization to the Attorney General to

appoint officers. It specifically and solely authorizes the appointment of

“Investigative and Other Officials”—officials, not officers—connected

with the FBI. This does not include Special Counsels. This is clear for

three reasons.

      First, §533 is part of Chapter 33 of Title 28, encompassing §§531–

540D, which deals with the “Federal Bureau of Investigation.” Section

532, immediately preceding §533, is entitled “Director of the Federal

Bureau of Investigation,” and spells out the Attorney General’s authority

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over the FBI. Section 534, immediately following §533, concerns

preserving evidence in criminal cases.

      Section 533 thus clearly deals with FBI officials and agents, not

Special Counsels. This is how the government has long understood this

provision, which has been employed as the basis for the FBI’s law

enforcement authority.

      Second, §533 concerns the appointment of investigative and

prosecutorial “officials.” Such officials, as that term is used in the

statute,2 are not Article II “officers of the United States” and cannot

perform the functions of officers of the United States. They are nonofficer

employees, who, as FBI agents, must be subject to the supervision and

direction of officers of the United States. The FBI needs office and field

personnel to perform its functions, and §533 allows the agency to have

them. But those office and field personnel are not officers of the United

States and do not have the range and power of a Special Counsel.



2  An eighteenth-century statute might have used a term such as
“officials” to have a broader meaning than applies to §533. See Lucia, 138
S.Ct. at 2056–2057 (Thomas, J., concurring). As a matter of statutory
interpretation, however, there is no plausible case for reading the term
as it appears in §533 to be coextensive with the constitutional meaning
of “officer.”

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      To the contrary, the word “Officer” is a constitutional term of art,

not only because it is used that way in the Appointments Clause, but also

because Article II, Section 4 allows for the impeachment and removal

from office of “all civil Officers of the United States[.]” Congress can try

to impeach the Deputy Attorney General or the FBI Director, but no one

thinks Congress can impeach DOJ trial attorneys, Office of Legal

Counsel attorney-advisers, or field personnel at the FBI. What is more,

officers can be put by Congress in the line of succession to the presidency.

See U.S. Const. art. II, §1, cl. 6. But no one thinks investigative officials

at the FBI or DOJ trial attorneys, who are bureaucrats and employees,

can be put in the line of succession to the presidency. That simply is not

how Congress was using the term “officials” in §533.

      Third, and perhaps most tellingly, a cavalier reading of §533 to

authorize hiring beyond its obvious scope obliterates the careful

structure of Title 28. That Title is divided into chapters dealing with the

Attorney General; the FBI; U.S. Attorneys; the Marshals Service; U.S.

Trustees; the Bureau of Alcohol, Tobacco, Firearms and Explosives; and

the now-sunsetted independent counsel. Wide-ranging Special Counsels




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of the sort represented by Smith are not part of these provisions outside

of the now-defunct Ethics in Government Act sections.

      7.   At a more granular level, the effect of a loose reading of the

statutes is even more bizarre. Congress, as noted earlier, has provided

for the appointment, all with presidential nomination and senatorial

consent, of a Deputy Attorney General, an Associate Attorney General, a

Solicitor General, exactly eleven Assistant Attorneys General (plus an

Assistant Attorney General for Administration who is in the competitive

service and is appointed by the Attorney General), and exactly one U.S.

Attorney for each judicial district, of which there are currently ninety-

four. A reading of §533 to create essentially unlimited inferior officer

appointment power in the Attorney General wreaks havoc on this

structure. It would allow the Attorney General to appoint an entire

shadow DOJ to replace the functions of every statutorily specified officer.

No wonder the Reno Regulations did not invoke it.

      For reasons described in depth in Calabresi & Lawson, Mueller’s

Appointment, supra, the Supreme Court in United States v. Nixon, 418

U.S. 683 (1974), did not pass on the scope of §533. That decision contains

some ill-considered dictum regarding §533, see Nixon, 418 U.S. at 694–


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695, but it merits no weight. Anyone tempted to rely on Nixon should

read the case briefs to see what issues were truly raised there. Those

issues involved only the relationship between the President and DOJ as

an institution; the same arguments would have been raised if the

Attorney General personally, rather than the independent counsel, had

brought the suit at issue there. See Calabresi & Lawson, Mueller’s

Appointment, supra, at 120–123. Moreover, Nixon was argued and

decided before the modern rebirth of separation of powers, which dates

from two years after Nixon in Buckley v. Valeo¸ 424 U.S. 1 (1976) (per

curiam).

      In short, the position supposedly held by Smith was not

“established by Law.” The authority exercised by him as a so-called

“Special Counsel” far exceeds the power exercisable by a mere employee.

See Lucia, 138 S.Ct. at 2051–2052. He is acting as an officer, but aside

from the specific offices listed in the statutes discussed above, there is no

office for him to hold. That alone robs him of authority to represent the

United States in any capacity, including before this Court.




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II.   The Appointments Clause Establishes a Default Rule that
      All Heads of Departments, Principal Officers, and Superior
      Officers   Require   Presidential   Nomination,     Senate
      Confirmation, and then Presidential Appointment.

      Even if one somehow thinks that existing statutes authorize

appointment of stand-alone Special Counsels with the full power of a U.S.

Attorney, Smith was not properly appointed to such an “office.” No

statute clearly authorized his appointment by any mode other than

presidential appointment and Senate confirmation.

      Any such statute, of course, is governed by the Appointments

Clause of Article II, Section 2, which provides that the President “shall

appoint Ambassadors, other public Ministers and Consuls, Judges of the

Supreme Court, and all other Officers of the United States, whose

Appointments are not herein otherwise provided for, and which shall be

established by Law: but the Congress may by Law vest the Appointment

of such inferior Officers, as they think proper, in the President alone, in

the Courts of Law, or in the Heads of Departments.”

      This sentence makes three things clear. First, the default mode of

appointment for all officers, whether superior or inferior, is presidential

nomination, Senate confirmation, and then presidential appointment.

Second, this default presumption can only be overridden by Congress in

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the case of inferior officers.   Third, even in case of inferior officers,

Congress must speak clearly to authorize a permissible mode of

appointment for those officers other than presidential nomination,

Senate confirmation, and presidential appointment.

      This latter “clear statement” rule is implicit in the Appointments

Clause and the constitutional structure. That Clause is both a separation

of powers and a federalism provision. It divides appointment power

between the President and the Senate—not between the President and

Congress as a whole—which lacks power to confirm appointees. See

Buckley, 424 U.S. at 127. The Senate is the body in which States receives

equal representation, whatever their size or population, which guards

against large-state Presidents underrepresenting smaller states in the

executive and judicial departments. As one Convention participant put

it, presidential appointment power without the check of the Senate would

allow presidents “to gain over the larger States, by gratifying them with

a preference of their Citizens.” 2 Records of the Federal Convention at 43

(Mr. Bedford).   These structural concerns warrant an interpretative

presumption in favor of a clear statement of congressional intent to

authorize appointment of an inferior officer by any means other than


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presidential nomination and senatorial confirmation. Cf. Biden v.

Nebraska, 143 S.Ct. 2355, 2372–2375 (2023) (invoking the major

questions doctrine because “the Executive seiz[ed] the power of the

Legislature”); Gregory v. Ashcroft, 501 U.S. 452, 460–461 (1991)

(articulating federalism clear statement rule).

      Even   without    such    a   presumption,     ordinary      statutory

interpretation demonstrates that the Attorney General received no

power to appoint Special Counsels as inferior officers.          None of the

statutes canvassed in the previous section contains any such

authorization. In contrast to the DOJ’s organic statute, the organic

statutes of the Agriculture, Education, Health and Human Services, and

Transportation Departments do contain inferior officer appointment

power clauses.   Thus, the Agriculture Secretary “may appoint such

officers and employees *** and such experts, as are necessary to execute

the functions vested in him[,]” 7 U.S.C. 610(a); the Education Secretary

similarly “is authorized to appoint *** such officers and employees,

including attorneys, as may be necessary to carry out the functions of the

Secretary and the Department[,]” 20 U.S.C. 3461; the Health and Human

Services Secretary “is authorized to appoint *** officers and employees,”


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42 U.S.C. 913; and the Transportation Secretary “may appoint ***

officers and employees of the Department of Transportation ***.” 49

U.S.C. 323(a).   And Congress gave the Attorney General power to

“appoint such additional officers and employees as he deems necessary[,]”

18 U.S.C. 4041—but specifically for the Bureau of Prisons, not more

broadly for other DOJ components.

      It is unclear why Congress chose to give general inferior officer

appointment power to the aforementioned Secretaries but not the

Attorney General.    It may be because of the unique threat that an

unprincipled Attorney General could pose to civil liberties, the separation

of powers, and federalism. But this Court need not divine Congress’s

reasons for making different policy choices because the relevant statutes

are unambiguous.

III. Even If Special Counsels Were Statutorily Authorized, They
     Would Be Superior Officers Who Would Need Presidential
     Nomination and Senate Confirmation.

      If Smith actually had the power to convene grand juries, issue

subpoenas, direct and conduct prosecutions, and file appeals in this Court

(let alone the Supreme Court), he would obviously be an “Officer of the

United States” rather than a mere employee. See Lucia, 138 S.Ct. at


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2051–2052; Buckley, 424 U.S. at 139–140; Calabresi & Lawson, Mueller’s

Appointment, supra, at 128–134. More than that, he would be a superior

(or principal) officer. And by the plain terms of the Appointments Clause,

superior officers must be appointed by the President with the Senate’s

advice and consent. That is not how Smith was appointed, and he thus

could not serve as Special Counsel even if such a position validly existed.

      The Special Counsels contemplated by the Reno Regulations are

the equivalent of, if not more powerful than, U.S. Attorneys. It is obvious

as an original matter that U.S. Attorneys are superior officers, see

Calabresi & Lawson, Mueller’s Appointment, supra, at 138–142, and the

same is true of the Special Counsels who mirror them. The only plausible

argument to the contrary rests not on original meaning but on a wild

overreading of the Supreme Court’s decisions in Morrison v. Olson, 487

U.S. 654 (1988), and Edmond v. United States, 520 U.S. 651 (1997).

Those decisions, especially Edmond, contain language that some lower

courts have read to mean that anyone who had a superior on an agency

organization chart must be an “inferior” officer. But if that were true, the

Solicitor General, the Associate Attorney General, all the Assistant

Attorneys General, all U.S. Attorneys, and even the Deputy Attorney


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General, would be inferior officers, because they all answer at some level

to the Attorney General. Likewise, judges of the federal courts of appeals

and district courts would be inferior officers because they can be

overruled by the Supreme Court.         Could Congress therefore let the

Attorney General appoint court of appeals judges or the Solicitor General

or FBI Director? Of course not.

      One can be a superior rather than inferior officer in two ways. One

is to have no decisional superior other than the President. Smith’s court

filings insist that he is independent from his nominal superior (the

Attorney General), and even the President, assuring the courts that

“coordination with the Biden Administration”—which includes Attorney

General Garland and President Biden—is “non-existent.” Gov’t Mot. in

Limine at 6, United States v. Trump, No. 1:23-cr-257-TSC (D.D.C.).

Smith thus has no functional superior, necessarily rendering him a

superior officer. And this lack of accountability only compounds the

invalidity of his purported appointment. See Seila Law, 140 S.Ct. at

2197–2199.

      The other way to be a superior officer is to have so much power and

authority that one is superior in a substantive sense. For example, in the


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late eighteenth century, a court whose decisions were not subject to

review by any other court could nonetheless sometimes be called an

“inferior” court if its jurisdiction or geographic scope was not as extensive

as those of other courts. See David E. Engdahl, What’s in a Name? The

Constitutionality of Multiple “Supreme” Courts, 66 Ind. L.J. 457, 466–472

(1991). That is why an early draft of Article III at the Constitutional

Convention proposed creating “one or more supreme tribunals.” Id. at

464. “Inferior” does not exclusively mean “subject to control, direction,

and review.” It means that much, but it can also mean more in certain

contexts.

      As Justice Souter perceptively wrote in his Edmond concurrence:

“Because the term ‘inferior officer’ implies an official superior, one who

has no superior is not an inferior officer ***. It does not follow, however,

that if one is subject to some supervision and control, one is an inferior

officer. Having a superior officer is necessary for inferior officer status,

but not sufficient to establish it.” 520 U.S. at 667 (Souter, J., concurring

in part and concurring in the judgment).

      Either way, if he is an officer, Smith is a superior officer. He has no

superior supervising or directing him as required by Edmond or Free


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Enterprise Fund v. Public Company Accounting Oversight Board, 561

U.S. 477 (2010). Attorney General Garland does not supervise or direct

him, as he said he would not when Smith was appointed Special Counsel.

      And Smith is appearing in this Court on behalf of the United States.

He is prosecuting a former President, the first time that has happened in

our Nation’s history. Smith is purporting to exercise at least as much

power as a U.S. Attorney, and arguably more. That is the hallmark of a

superior officer, who must be appointed as such.

      The absence of such an appointment means that Smith lacks

authority to prosecute Defendant on behalf of the United States. And

that is a powerful, sufficient reason to vacate the decision below and

order that Smith’s prosecution of Defendant be dismissed.

IV.   This Panel is Not Bound by Contrary Circuit Precedent
      because Seila Law is Supervening Authority, and This Issue
      May be Reached Sua Sponte on Appeal.

      On the issue of Smith’s authority, moreover, this panel is not bound

by In re Grand Jury Investigation, 916 F.3d 1047 (D.C. Cir. 2019), which

held that private citizens can be appointed as Special Counsels consistent

with the Appointments Clause. Id. at 1052–1054. Following that

decision, the Supreme Court further explained the Appointments


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Clause’s requirements, including an observation that restrictions on the

removability of appointed officers have been upheld only under two

narrow exceptions, not relevant here. See Seila Law, 140 S.Ct. at 2199–

2202. Moreover, Seila Law expounded the problems with the

Constitution’s separation of powers entailed by the CFPB Director. See

id. at 2202–07. Like the Director there, the Framers’ determination to

“divide power everywhere except for the Presidency,” id. at 2203, renders

the   Special   Counsel’s     purported   “insulation   from       removal   ***

unconstitutional,” id. at 2204.

      Thus, Seila Law constitutes supervening authority between Grand

Jury and now. The law-of-the-circuit doctrine does not require continued

adherence to a panel decision inconsistent with subsequent Supreme

Court precedent. See Maxwell v. Snow, 409 F.3d 353, 358 (D.C. Cir. 2005).

At minimum, this issue warrants polling the full Court as a substitute

for an en banc determination. See Irons v. Diamond, 670 F.2d 265, 268

n.11 (D.C. Cir. 1981) (explaining this procedure); Nat’l Env’t Dev. Ass’ns

Clean Air Project v. EPA, 891 F.3d 1041, 1052 n.* (D.C. Cir. 2018)

(following this procedure).




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      Furthermore, this Court may reach this issue now. That is because

the Supreme Court has “expressly included Appointments Clause

objections   ***     in    the   category     of   nonjurisdictional    structural

constitutional objections that could be considered on appeal whether or

not they were ruled upon below.” Freytag v. Comm’r, 501 U.S. 868, 878–

879 (1991) (collecting cases). See also Dynaquest Corp. v. USPS, 242 F.3d

1070, 1076 (D.C. Cir. 2001) (“[C]ourts have discretion to consider

Appointments Clause challenges raised for the first time on appeal.”).

Judicial economy also points towards this Court deciding the

Appointments Clause issue now, as otherwise Defendant will simply

raise it before the District Court if the case is remanded and this Court

will face the issue again on appeal. This panel is accordingly free to

invalidate Smith’s appointment, and should do so.

                                 CONCLUSION

      Not properly clothed in the authority of the federal government,

Smith is a modern example of the naked emperor. Illegally appointed, he

has no more authority to represent the United States in this Court, or in

the underlying prosecution, than Tom Brady, Warren Buffett, or

Beyoncé. That fact is sufficient to sink Smith’s prosecution of Defendant,


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and the Court should vacate the decision below and order that the

prosecution be dismissed. We express no views on the substantive issues

addressed in the parties’ briefs.

                                    Respectfully submitted,

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Date: December 30, 2023




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                  CERTIFICATE OF COMPLIANCE

      I certify, on this 30th day of December 2023, that the foregoing Brief

for Amici Curiae complies with the word limit under Fed. R. App. P.

29(a)(5) and this Court’s briefing order because, excluding the parts of

the document exempted by Fed. R. App. P. 32(f), this document contains

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                                   /s/Gene C. Schaerr
                                   GENE C. SCHAERR




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                     CERTIFICATE OF SERVICE

      I certify that on December 30, 2023, I caused the foregoing Brief for

Amici Curiae to be filed with the Clerk of this Court by using the

appellate CM/ECF system. The participants in the case are registered

CM/ECF users and service will be accomplished by the appellate

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                                  /s/Gene C. Schaerr
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